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 4
   Attorney for Defendant,
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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,           )               No. CR S 05-0034 LKK
11                                       )
                 Plaintiff,              )               STIPULATION AND ORDER
12                                       )               RE: EXCLUDABLE TIME AND
           v.                            )               MODIFICATION OF MOTION HEARING
13                                       )               & BRIEFING SCHEDULE
     JAY BRIAN McCASTLE, DAVID           )
14   TALCOTT USSERY, ROBERT              )
     ROBINSON and LINDA ANN CHANEY, )
15                                       )
                 Defendants.             )
16   ____________________________________)
17 The parties hereby stipulate to the following:
18 1.       This matter is now set for hearing on any motions on October 25, 2005, at 9:30 a.m.
19 2.       Defense counsel is in need of additional time to prepare pretrial motions as well as time
20          to consider the government’s joint plea proposal made to all defendants. Therefore, the
21          government and all defense counsel agree to the following modification of the motion
22          schedule in order to afford counsel additional time to prepare: Motions to be heard
23          November 15, 2005 at 9:30 a.m; motions due October 17, 2005; government’s response
24          due November 1, 2005; defendant’s reply, if any, due November 8, 2005.
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 1 3.      The parties stipulate, and the court is requested to order, that time pending filing of
 2         motions should be excluded pursuant to Local Code T4, 18 U.S.C. 3161(h)(8)(B)(iv), for
 3         preparation of counsel.
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 5
 6 DATED: September 26, 2005              /s/ Tim Warriner, Attorney for defendant,
                                          JAY BRIAN McCASTLE
 7
     DATED: September 26, 2005            /s/ James Ralph Greiner, Attorney for defendant,
 8                                        DAVID TALCOTT USSERY
 9 DATED: September 26, 2005              /s/ Christopher Haydn-Meyer, Attorney for defendant,
                                          ROBERT ROBINSON
10
     DATED: September 26, 2005            /s/ Jan David Karowsky, Attorney for defendant,
11                                        LINDA ANN CHANEY
12 DATED: September 26, 2005              /s/ Anne Pings, Assistant United States Attorney,
                                          Attorney for the Government
13
14
15                                               ORDER
16         GOOD CAUSE APPEARING, it is hereby ordered that the October 25, 2005 motion
17 hearing date be vacated and that the matter be set for hearing on pretrial motions on November
18 15, 2005, at 9:30 a.m.. The following briefing schedule is ordered: defendants’ motions due
19 October 17, 2005; government’s response due November 1, 2005; defendants’ optional reply due
20 November 8, 2005. It is further ordered that time continue to be excluded for preparation of
21 counsel pending filing of motions pursuant to 18 U.S.C. 3161(h)(8)(B)(iv), Local Code T4.
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23 DATED: October 3, 2005                         /s/ Lawrence K. Karlton
                                                  HONORABLE LAWRENCE K. KARLTON
24                                                UNITED STATES DISTRICT JUDGE
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